              Case 1:21-cr-00271-EGS Document 7 Filed 02/04/21 Page 1 of 1




                              IN THE UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA                       )
                                               )
         v.                                    )      CRIMINAL NO. 21-mj-00182
                                               )
                                               )      UNDER SEAL
DIANA SANTOS-SMITH                             )

                                     NOTICE OF APPEARANCE

         COMES NOW Kira Anne West and enters her appearance as pro hac vice sponsor

counsel in the above captioned case.

                                               Respectfully submitted,

                                               KIRA ANNE WEST

                                       By:              /s/
                                               Kira Anne West
                                               D.C. Bar No. 993523
                                               712 H St. N.E.
                                               Unit 509
                                               Washington D.C., 20002
                                               kiraannewest@gmail.com

                                     CERTIFICATE OF SERVICE

         I hereby certify on the 4th day of February, 2021 a copy of same was delivered to the

parties of record, by email pursuant to the Covid standing order and the rules of the Clerk of

Court.

                                                       /S/
                                             Kira Anne West
